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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                         Plaintiff,                   Case No. CR11-383RSL

 9           v.                                         ORDER CONTINUING
      JACK PERSHING SEXTON and                          TRIAL DATE AND PRETRIAL
10                                                      MOTIONS DEADLINE
      RONALD KLAUDE KETTELLS,
11                         Defendants.
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13          This matter comes before the Court on Defendants’ third unopposed motion (Dkt.

14   # 51) to continue their trial date. Having considered the facts set forth in the unopposed

15   motion and the documents filed in support, each Defendant’s knowing and voluntary
     waiver (Dkt. ## 52, 53), and the remainder of the record, the Court finds as follows:
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            1.     A failure to grant the continuance would deny defense counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of
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     due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
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            2.     The ends of justice will be served by ordering a continuance in this case; a
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     continuance is necessary to insure adequate time for defense negotiations and
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     investigation, effective trial preparation, and an opportunity for each Defendant to
22   benefit from these efforts; and these factors outweigh the best interests of the public and
23   each Defendant in a more speedy trial, within the meaning of § 3161(h)(7)(A).
24
25
26   ORDER CONTINUING TRIAL DATE
     AND PRETRIAL MOTIONS DEADLINE - 1
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 1          IT IS THEREFORE ORDERED that the trial date shall be continued from

 2   September 10, 2012, to January 28, 2013. The period of delay attributable to the filing

 3   and granting of this motion is excluded for speedy trial purposes pursuant to

 4   § 3161(h)(1)(D), (h)(7)(A), and (h)(7)(B).
            Pretrial motions are to be filed no later than November 30, 2012.
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            DATED this 4th day of September, 2012.
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 9                                             A
                                               Robert S. Lasnik
10                                             United States District Judge

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26   ORDER CONTINUING TRIAL DATE
     AND PRETRIAL MOTIONS DEADLINE - 2
